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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   ---------------------------------------------------------------------X
    In re
                                                                                     Chapter 7

    Carl Garris                                                                      Case No. 18-36599
    Sheryl L Metz-Garris


                                    Debtor(s)
   ---------------------------------------------------------------------X

                     LOSS-MITIGATION REQUEST - BY THE DEBTOR
   I am a Debtor in this case. I hereby request loss mitigation with respect to 23 Alexander
   Drive, Washingtonville NY 10992, in regard to loan ending 5824 with creditor Mr.
   Cooper.


   SIGNATURE
   I understand that if the Court orders loss mitigation in this case, I will be expected to
   comply with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation
   Procedures, and I will participate in loss mitigation in good faith. I understand that loss
   mitigation is voluntary for all parties, and that I am not required to enter into any
   agreement or settlement with any other party as part of this loss mitigation. I also
   understand that no other party is required to enter into any agreement or settlement with
   me. I understand that I am not required to request dismissal of this case as part of any
   resolution or settlement that is offered or agreed to during the loss mitigation period.
    Sign:     /s/ Carl Garris                                                           Date: October 3, 2018

    Print Name:                        Carl Garris

    Telephone Number:

    E-mail Address (if
    any):

    Sign:     /s/ Sheryl L Metz-Garris                                                  Date: October 3, 2018

    Print Name:                        Sheryl L Metz-Garris

    Telephone Number:

    E-mail Address (if
    any):




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